           Case 1:15-cr-00288-DAD-SKO Document 405 Filed 11/27/18 Page 1 of 3


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 6 United States of America

 7                                   IN THE UNITED STATES DISTRICT COURT

 8                                          EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 1:15-CR-00288 LJO-SKO

11                                         Plaintiff,     STIPULATION TO CONTINUE TRIAL AND
                                                          TRIAL CONFIRMATION AND PROPOSED
12                              v.                        ORDER THEREON

13   JORGE ARREOLA-SERRATO.
                                                          Date: December 11, 2018
14                                         Defendants.    Time: 8:30 a.m.
                                                          Honorable Lawrence J. O’Neill
15

16           The United States of America, by and through McGREGOR W. SCOTT, United States Attorney,
17 and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant Jorge Arreola-

18 Serrato, by and through his attorney of record, Arturo Hernandez, hereby stipulate to continue the trial in

19 this case from December 11, 2018 until January 15, 2019 at 8:30 a.m.

20           The parties request that time be excluded between December 11, 2018 and January 15, 2019 for
21 the following reasons: (1) the government will be seeking a superseding indictment and the continuance

22 will provide the defendant will the 30-day continuance contemplated by Title 18, United States Code,

23 Section 3161; (2) two government witnesses are currently in custody and will not arrive in the district in

24 time for adequate preparation; and (3) government counsel has had a death in the family that requires

25 travel to the east coast and interferes with her ability to adequately prepare for trial and comply with the

26 Court’s pretrial order. The proposed trial date represents the earliest date that both counsel are available
27 thereafter, taking into account the schedules of both counsel, and the need for preparation in the case and

28 further investigation.

      Stipulation to Continue Trial Date
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           Case 1:15-cr-00288-DAD-SKO Document 405 Filed 11/27/18 Page 2 of 3


 1           The parties further believe that time should be excluded until January 15, 2019, in that failure to

 2 grant the requested case schedule would unreasonably unreasonably deny both the defendant and the

 3 government the reasonable time necessary for effective preparation, taking into account the parties’ due

 4 diligence in prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv). Based on the above-stated

 5 findings, the ends of justice served by the schedule as requested outweigh the interest of the public and

 6 the defendant in a trial within the original date prescribed by the Speedy Trial Act. Therefore, the

 7 parties request that the Court exclude the time until the new trial date from calculations under the

 8 Speedy Trial Act.

 9    Dated: November 27, 2018                                McGREGOR W. SCOTT
                                                              United States Attorney
10
                                                              /s/ Kathleen A. Servatius
11                                                            KATHLEEN A. SERVATIUS
                                                              Assistant United States Attorney
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13
     Dated: November 27, 2018                              /s/ Arturo Hernandez
14                                                         Attorney for Jorge Arreola-Serrato

15                                                    ORDER

16           IT IS HEREBY ORDERED that the trial in this case be continued from December 11, 2018 until

17 January 15, 2019 at 8:30 a.m.

18           IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as

19 requested outweigh the interest of the public and the defendants in a trial within the original date

20 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of

21 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

22 commence, the time period of December 11, 2018 and January 15, 2019, inclusive, is deemed

23 excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by

24 the Court at the parties’ request on the basis of the Court’s finding that the ends of justice served by

25 taking such action outweigh the best interest of the public and the defendant in a speedy trial.

26
     IT IS SO ORDERED.
27
        Dated:       November 27, 2018                        /s/ Lawrence J. O’Neill _____
28                                                 UNITED STATES CHIEF DISTRICT JUDGE
      Stipulation to Continue Trial Date
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          Case 1:15-cr-00288-DAD-SKO Document 405 Filed 11/27/18 Page 3 of 3


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     Stipulation to Continue Trial Date
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